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 4
     Attorney for Defendant
 5   ROBERT CARR
 6                                IN THE UNITED STATES DISTRICT COURT

 7                               FOR THE EASTERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,                       Case No.: CR.S-09-00170-GEB

 9                  Plaintiff,

10          vs.                                      STIPULATION AND ORDER

11   ROBERT CARR, et al.,
                                                    Date: December 23, 2009
12                  Defendants.                     Time: 9:00 a.m.
                                                    Judge: Hon. Garland E. Burrell
13                                        STIPULATION
14          IT IS HEREBY STIPULATED between the parties, Samuel Wong, Assistant United
15   States Attorney, for plaintiff United States of America, on the one hand, and Douglas Beevers,
16   Assistant Federal Defender, attorney for defendant Theresa Ann Carr, and C. Emmett Mahle,
17   attorney for defendant Robert Carr, on the other hand, that the status conference of October 23,
18   2009, at 9:00 a.m., be vacated, and the matter be set for status conference on December 11,
19   2009, at 9:00 a.m.
20          The reason for the continuance is that both defense counsel have only recently taken
21   over this case in which discovery includes many boxes of evidence, and counsel requires time
22   to review the evidence. In addition, there are twenty five boxes of discovery evidence which
23   counsel has not yet reviewed. The parties agree a continuance is necessary for these purposes,
24   and agree to exclude time under the Speedy Trial Act accordingly.
25          IT IS STIPULATED that the period from the date of the parties’ stipulation, October 20,
26   2009, and up to and including December 11, 2009, shall be excluded in computing the time
27   within which trial of this matter must be commenced under the Speedy Trial Act, pursuant to 18
28




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 1   U.S.C §3161(h)(7)(A) and (B)(iv) and Local Code T4, for ongoing preparation of defense
 2   counsel.
 3   DATED:      10/20/09    _____                  /s/ C. Emmett Mahle
 4                                                C. EMMETT MAHLE
                                                  Attorney for Defendant
 5                                                ROBERT CARR
 6
     DATED:      10/20/09 _ _____                   /s/ Douglas Beevers
 7
                                                  DOUGLAS BEEVERS
 8                                                Attorney for Defendant
                                                  THERESA ANN CARR
 9

10                                                LAWRENCE BROWN
                                                  Acting United States Attorney
11
     DATED:      10/20/09 _ _____                   /s/ Samuel Wong
12
                                                  SAMUEL WONG
13                                                Assistant U.S. Attorney
14

15                                                ORDER
16                  UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that
17   the status conference presently set for October 23, 2009, be continued to December 11, 2009,
18   at 9:00 a.m. Based on the representation of defense counsel and good cause appearing
19   therefrom, the Court hereby finds that the failure to grant a continuance in this case would deny
20   defendants’ counsel reasonable time necessary for effective preparation, taking into account the
21   exercise of due diligence. The Court finds the ends of justice to be served by granting a
22   continuance outweigh the best interests of the public and the defendants in a speedy trial. It is
23   ordered that time from the date of the parties’ stipulation, October 20, 2009, up to and including,
24   the December 11, 2009, status conference shall be excluded from computation of time within
25   which the trial of this matter must be commenced under the Speedy Trial Act pursuant to 18
26   U.S.C. §3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow defense counsel reasonable
27   time to prepare.
28

     DATED: 10/28/09
                                                   GARLAND E. BURRELL, JR.
                                                   United States District Judge
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